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                         UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT
                           ______________________________

                                      No. 23-1652
                            ______________________________

                               MICHELE TOURANGEAU,

                                   Plaintiff - Appellant,

                                             v.

                                 NAPPI DISTRIBUTORS,

                                   Defendant - Appellee.
                            ______________________________

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE


                                 BRIEF OF APPELLEE


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                             JURISDICTIONAL STATEMENT

            Appellant Michele Tourangeau filed her Complaint in this matter on January

      10, 2020. Joint Appendix at JA1 (hereinafter “App. at __”). Tourangeau asserted a

      number of claims against Appellee Nappi Distributors (“Nappi”) grounded on

      federal statutes, including the Equal Pay Act (“EPA”), 29 U.S.C. § 206 et seq., the

      Pregnancy Discrimination Act (“PDA”), 42 U.S.C. § 2000e(k), and Title VII, 42

      U.S.C. § 2000e et seq. App. at JA24-42. She also asserted claims under Maine law,

      including the Maine Human Rights Act (“MHRA”), 5 M.R.S. § 4571 et seq., the

      Maine Timely and Full Payment of Wages Law (“MTFPWL”), 26 M.R.S. § 621-A

      et seq., quantum meruit, and unjust enrichment. App. at JA24-42. Pursuant to 28

      U.S.C. § 1331, the United States District Court for the District of Maine (“the

      District Court”) exercised federal question jurisdiction over the claims Tourangeau

      asserted under federal law. It exercised supplemental jurisdiction over

      Tourangeau’s state law claims pursuant to 28 U.S.C. § 1367(a).

            By an order dated November 29, 2022, the District Court granted in part and

      denied in part Nappi’s motion for summary judgment. United States District Court

      for the District of Maine, Civil No. 2:20-cv-00012-JAW, ECF Docket Entry No.

      106 (hereinafter “ECF No. __”). On March 6, 2023, the District Court entered

      judgment in favor of Nappi on all claims that survived summary judgment based

      on a jury verdict. Addendum to Appellant’s Brief at 5 (hereinafter “Add. at __”).


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      On July 18, 2023, the District Court denied Tourangeau’s motion for a new trial

      and entered an amended final judgment. Add. at 6-77 & 78. Tourangeau filed a

      notice of appeal of the amended final judgment on August 7, 2023. App. at JA22.

      Therefore, the United States Court of Appeals for the First Circuit exercises

      jurisdiction over the appeal pursuant to 28 U.S.C. § 1291.



                                STATEMENT OF THE ISSUES

            I.       Whether the District Court abused its discretion in determining that

      the evidence supported the jury’s verdict on Tourangeau’s EPA claim.

            II.      Whether the District Court committed reversible error in its

      instructions to the jury concerning Tourangeau’s EPA claim.

            III.     Whether the District Court abused its discretion in its rulings during

      jury selection on challenges for cause.

            IV.      Whether the District Court abused its discretion in denying

      Tourangeau’s motion for new trial predicated on alleged juror bias.



                                 STATEMENT OF THE CASE

            I.       Case Overview

            Beginning in January of 2015, Tourangeau worked for Nappi as a wine sales

      representative. App. at JA261 & JA284. At the time Nappi hired Tourangeau,


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       Nappi’s former Wine Sales Director, Paul Carr, advised Tourangeau that her

       expected starting salary, commissions, and incentives would total about

       $60,000.00, with the ability to make more based upon her work ethic. App. at

       JA276 & JA277-78. Tourangeau was still working for Nappi as a wine sales

       representative at the time of trial. App. at JA545.

             Beginning around 2014, and before Tourangeau applied for a position at

       Nappi, Nappi started the process of reducing the pay scale of its wine sales

       representatives and elected to do so by offering two-percent commissions to all

       newly hired wine sales representatives after 2014, rather than three percent, which

       was the previous rate. App. at JA530; JA663; JA906-07. Nappi’s President, Frank

       Nappi, Jr., made this decision because three-percent commissions in the wine

       department were not sustainable given the shrinking margins on wine sales

       resulting from increased overhead and fuel costs. App. at JA875; JA907; JA977.

       Nappi decided that the existing wine sales representatives – those with long tenure

       at the company (and whom Nappi did not want to lose) – would maintain the three-

       percent rate, but all new hires would receive two-percent commissions. App. at

       JA977-78. Therefore, when Nappi hired Tourangeau it paid her – and every wine

       sales representative hired after her – a two-percent commission rate. App. at

       JA907-08.




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             Nappi wine sales representatives with routes in southern Maine, such as the

       route Nappi hired Tourangeau to work, did not typically receive salaries as part of

       their compensation. App. at JA810 & JA871. However, Nappi initially offered

       Tourangeau a salary in addition to her commission and incentive pay to offset the

       then-more seasonality of her route and to allow her to develop and establish

       relationships within her route. App. at JA277-78. Of the wine sales representatives

       with routes in the southern part of the state, only Tourangeau and one other wine

       sales representative, Dan Toolan, were offered salaries in addition to commission

       and incentives. App. at JA745. Dan Toolan, a male wine sales representative hired

       shortly after Tourangeau in 2015, was also paid a two-percent commission rate.

       App. at JA746.

             Beginning in late 2018, Nappi’s new Director of Wine Sales, Matt Watson,

       reviewed Nappi’s existing sales routes and implemented some restructuring. App.

       at JA960. The changes involved a long overdue re-routing or re-assignment of

       sales accounts to improve efficiencies and build sales capacity, a standard process

       throughout the beverage distribution industry. App. at JA1105-06. As part of the

       announcement to the wine sales team, Watson informed all sales representatives

       that the planned rerouting was intended to geographically streamline routes as

       much as practical and would possibly impact compensation for some sales

       representatives. Id. As part of the restructuring process, Watson informed


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       Tourangeau and Toolan that Nappi planned to eliminate their salaries and that their

       compensation would be based entirely on commissions and incentives like all other

       southern Maine wine salespeople. App. at JA1098-99.

             After numerous discussions with Tourangeau about the elimination of her

       salary, Nappi agreed to reduce her salary by only fifty percent, and to do so in

       phases. App. at JA1099-1100. As of the time of trial, only one of those phased

       reductions had been implemented, in part due to the pandemic crisis and this

       litigation. App. at JA1101-02. By contrast, Toolan’s base salary was simply

       eliminated. Id. While working for Nappi, Tourangeau never earned less than

       $72,000 a year for a full year’s work, and her compensation since the first

       incremental salary reduction was almost $83,500 in 2019, almost $84,000 in 2020

       (during which Nappi actually subsidized her income to offset the effects of

       COVID-19 on wine sales), almost $94,000 in 2021, and about $95,600 in 2022.

       App. at JA550-51; Def’s Exh. 4.

             Throughout her continuing employment with Nappi, Nappi compensated

       Tourangeau for her work according to Nappi’s policies and the terms of her

       employment. App. at JA922; JA926; JA938; Def’s Exhs. 4 & 54. Tourangeau was

       not aware of any male wine sales representatives hired after her who were

       compensated better than her, nor was she aware of any new wine sales

       representatives hired since 2014 who received a three-percent commission. App. at


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       JA640-42. Tourangeau testified she was not aware of any similarly situated

       employees at Nappi being paid differently solely based on sex. App. at JA641.

             In her Complaint, Tourangeau alleged a variety of claims arising out of her

       employment with Nappi including: violation of the EPA (Count I); retaliation in

       violation of the EPA (Count II); violation of the PDA (Count III); sex-based

       discrimination in violation of Title VII (Count IV); quid pro quo sexual harassment

       in violation of Title VII (Count V); violation of the MHRA (Count VI); violation

       of the MTFPWL (Count VII); quantum meruit (Count VIII); and unjust enrichment

       (Count IX). App. at JA24-42.

             By an order dated November 29, 2022, the District Court granted Nappi

       summary judgment on Count V. ECF No. 106, at 143.

             With the consent of the parties, Magistrate Judge John Nivison presided over

       jury selection on February 6, 2023, in preparation for a jury trial of the claims that

       survived summary judgment. App. at JA13. The District Court (Woodcock, J.)

       conducted a jury trial from February 27, 2023 to March 3, 2023. App. at JA16-17.

       At the conclusion of trial, the jury returned a verdict in favor of Nappi on all

       claims. Add. at 1-4.

             II.     Pertinent Proceedings at Jury Selection

             The District Court asked prospective jurors to complete a written juror

       questionnaire prior to jury selection. ECF No. 139. As the record of proceedings


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       reflects, “the parties and the Court agreed that a yes response to questions seven

       and eight [on the questionnaire] would be automatically disqualifying.” App. at

       JA141. Prior to jury selection, Magistrate Judge Nivison excused all jurors who

       answered in the affirmative to either or both of those questions. Id.

             During the course of jury selection, Juror No. 89 answered “yes” to the

       following query: “Have you ever been party to a lawsuit either as a plaintiff, that is

       the person bringing the lawsuit, or the defendant and the person against whom your

       lawsuit was asserted?” App. at JA99-100. In response to follow-up inquiry by

       Magistrate Judge Nivison, Juror No. 89 stated that twenty-two years ago, while he

       was employed in Louisiana as an emergency room physician, the family of a

       young woman who died as a result of injuries from a car accident sued him. App.

       at JA100-01. The family dropped the lawsuit prior to trial. Id. Juror No. 89

       conceded that being accused of something made the litigation experience personal,

       although he noted that his prior experience “wouldn’t necessarily pertain to this

       case.” App. at JA101-02. When pressed by the Magistrate Judge about his ability

       to be fair and impartial, the following colloquy occurred:

             THE COURT: Do you think that would in any way affect your ability
             to evaluate the evidence, and if the plaintiff was able to prove her
             case, based on the law and the facts that you found, would you have
             any difficulty ruling in favor of the plaintiff?

             JUROR 89: Not necessarily, I don’t think I would, no.



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             THE COURT: Okay. The only thing that gives me hesitancy is when
             you say not necessarily. Is there something that caused you to have
             some hesitancy or that -- that maybe there is something lingering there
             that could -- could affect that assessment?

             JUROR 89: No, sir, no.

             THE COURT: Okay.

             JUROR 89: I think that’s just a figure of speech.

             THE COURT: Figure of speech.

             JUROR 89: Right.

             THE COURT: Okay. So you’re confident -- again, not putting words
             in your mouth, I’ll ask it more in a direct way. Are you confident that
             if you were seated as a juror that both sides would have the
             opportunity -- a fair opportunity before you, that is you would
             evaluate the evidence and decide the case on the merits?

             JUROR 89: Yes, I do.

       App. at JA102-03. In response to Tourangeau’s follow-up questions, Juror No. 89

       confirmed that his experience being sued did not leave him with a predisposition

       about the legitimacy of lawsuits:

             MS. QUINLAN: And did -- did that experience make you feel like
             there are too many frivolous lawsuits or too many people filing
             lawsuits that have no merit?

             JUROR 89: It did not. I didn’t think that that case was frivolous. I
             think it was more a reaction of like a – the anger reaction by the
             family of a – of a grieving family, which I can’t say I wouldn’t feel
             myself if I was in that same situation, so I didn’t think that case was
             frivolous.

       App. at JA104.
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             Tourangeau asked the Magistrate Judge to strike Juror No. 89 for cause,

       arguing that because he indicated that the lawsuit was personal for him, he could

       not be an impartial juror. Id. Nappi opposed Tourangeau’s request, noting that

       Juror No. 89 stated unequivocally that he could be fair and impartial and that

       Tourangeau’s own questioning established that his experience with litigation

       twenty-two years ago did not leave him with any predispositions about the

       legitimacy of lawsuits. App. at JA103. The Magistrate Judge determined that Juror

       No. 89 could be a fair and impartial:

             THE COURT: Yeah, I mean I – I understand the concern any time
             somebody has been a party to a lawsuit – particularly a defendant if
             you’re the plaintiff, and the plaintiff if you’re a defendant – that that
             experience could have some impact. I think this juror, however, has
             directly responded to those concerns.

             And I, too, was struck by his last response when [Tourangeau’s
             counsel] asked him directly about the – whether this caused him to
             kind of view the civil justice system in a negative way or in a negative
             light and that too many lawsuits are filed, and despite the fact that he
             felt he had done his job and he understood why the lawsuit was
             brought. I don’t think he harbors any bitterness towards – he didn’t
             express any bitterness toward the – the plaintiff or the system. He – in
             response to my questions about being fair to both parties, I mean I
             thought he answered that directly and appropriately if he is going to
             remain. So I understand the concerns, and I’m going to overrule the
             objection, and Juror 89 will remain in the pool and he can return to his
             seat.

       App. at JA105-06. After that ruling, Tourangeau asked Juror No. 89 some

       additional questions concerning his knowledge of pending litigation against his

       employer, Northern Light Health Care. App. at JA106-08. The juror did not have
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       any personal involvement in any of the lawsuits and knew little about them. Id.

       Although he stated he thought he read an article about an equal pay act lawsuit that

       had been filed against one of Northern Light’s locations in another part of the state,

       he had not formed any opinions about the validity of that lawsuit, stating: “I don’t

       think I could. I don’t know enough about it.” App. at JA108. Notably, Tourangeau

       did not ask to have Juror No. 89 stricken for cause based on his responses to the

       Northern Light litigation questions. App. at JA108.

              Juror No. 14 answered “yes” to three questions on the written juror

       questionnaire: questions one, four, and six.1 App. at JA112. In response to inquiry

       from Magistrate Judge Nivison about question one, Juror No. 14 stated that “[o]ne

       of my first jobs I was promoted into a management position and there was a young

       man who was hired after me who was ranked underneath me who I found out later

       on had been paid more from his hire date.” App. at JA113. She stated that she

       complained about the pay disparity to her supervisor and that the only response she

       ever received was “there is a certain way that things are done.” App. at JA113-14.



       1
        Those questions were as follows:
             1. Have you or an immediate family member ever experienced discrimination
             based on sex or gender?
             4. Have you been involved in the discipline of an employee or determining the
             compensation to be paid to an employee?
             6. Have you ever observed a person experience what you believe was
             discrimination in the workplace based on sex or gender?
       ECF No. 139, at 1-2.

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       Juror No. 14 stated that she found her employer’s response to her complaint about

       pay disparity unsatisfactory. App. at JA118. She further testified that the disparity

       in pay continued until she left that employment in 2014. App. at JA113.

             In response to inquiry from Magistrate Judge Nivison about question four,

       Juror No. 14 stated that in her current employment position her supervisor’s boss

       had discriminated against her supervisor on the basis of sex. App. at JA114. Juror

       No. 14 specified that she witnessed her supervisor’s boss discriminating against

       her supervisor on the basis of sex through microaggressions. App. at JA114-15.

       Finally, in response to an inquiry from Magistrate Judge Nivison about question

       six, Juror No. 14 stated that she had disciplined employees up to and including

       dismissal. App. at JA115.

             Magistrate Judge Nivison explained to Juror No. 14 that the claims in this

       case involved allegations of sex discrimination, including discrimination based on

       pay. App. at JA116. After initially indicating that she did not think her past

       experiences with discrimination and unequal pay would affect her ability to assess

       the merits of the case and render an objective, neutral decision, the following

       colloquy occurred:

             THE COURT: Do you believe that you would be predisposed one
             way or another to look at the case in a certain way based on your own
             experiences?

             JUROR 14: I don’t think so. I can’t say that for sure, though.


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             THE COURT: Okay, why can’t you say it for sure? I understand your
             hesitancy, but why can’t you say it for sure?

             JUROR 14: I think I would be more likely to lean towards someone
             who is being undercompensated, and given the political climate, given
             my own experiences, I – I would be more likely to lean that way.

       App. at JA117. Nappi’s counsel noted on the record that Juror No. 14’s response to

       the first question in the above-quoted sequence was preceded by a lengthy pause.

       App. at JA119.

             Consequently, Nappi asked the Court to strike Juror No. 14 for cause. Id.

       Nappi highlighted the lengthy pause before Juror No. 14 admitted that she could

       not say for sure whether her own experiences would predispose her one way or the

       other. Id. It also repeated Juror No. 14’s admission that she “would be more likely

       to lean towards someone who is being undercompensated” given her own

       experiences. Id. Finally, Nappi noted that Juror No. 14’s pay disparity issue

       occurred less than ten years ago. Id. Although Tourangeau opposed Nappi’s

       request, Magistrate Judge Nivison sustained Nappi’s objection based on the

       following reasoning:

             Again, with this juror I don’t question her intentions here at all. I do
             think that she answered honestly when she expressed some hesitancy
             and then ultimately said that she’d probably lean toward the plaintiff.
             Now, one way of interpreting that, I understand, is that if the plaintiff
             proves her case that she would lean that way, I understand that. But a
             principle claim here by the plaintiff is that she was paid less than a
             male in a similar role or less than she should because of her gender.
             This juror believes she was paid less than a male because of her
             gender. And I understand it was 2014, which was some eight, nine
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             years ago, but that experience -- given that experience, I’m not
             surprised to hear her kind of hesitate in some of her answers and
             ultimately describe it as leaning toward.

             So I just think there is enough similarities here that give me pause and
             I think it’s appropriate that she be released and excused, so I’m going
             to sustain the objection.

       App. at JA120-21.

             Finally, Magistrate Judge Nivison rejected Tourangeau’s attempt to equate

       Juror No. 89’s situation with that of Juror No. 14. App. at JA121-22. When

       Tourangeau referred to Juror No. 89 after Magistrate Judge Nivison indicated that

       he was striking Juror No. 14 for cause, the following colloquy occurred:

             THE COURT: I’m not going to compare one juror to the next. The
             juror that was sued that’s seated has nothing to do with employment,
             nothing to do with disparate pay allegation, nothing to do with what is
             perceived to be unequal. So the fact that there is a lawsuit filed against
             somebody is a separate issue from whether there are experiences
             similar to the plaintiff in this case or a party in this case, that’s really
             the distinction.

             I cut you off, so I’m sorry, so make sure – make sure you get on the
             record, Ms. Quinlan, everything you want to say. I – I get it, so feel
             free to share the –

             MS. QUINLAN: No, no worries, that’s okay. That's all right.

             THE COURT: No, I – I do understand, and, believe me, as I weigh
             these rulings I am aware of how one ruling may affect another ruling,
             or be perceived, and I think it’s understandable that you point out the
             distinction that you point out. I just see this as too close to the
             plaintiff’s actual claim, the substance of pay and differential disparate
             pay based on gender which unfortunately it sounds like the juror was
             – the juror experienced herself, and for that very direct similar
             experience to what the plaintiff is claiming I would be surprised if it
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             didn’t impact how she saw the evidence, frankly. I think it would be
             understandable; I think her hesitation reflects that. But I certainly
             acknowledge why you are pointing to the physician juror having been
             a party to a lawsuit yet staying in the pool. I understand, but I just see
             a distinction in terms of the substantive claim –

             MS. QUINLAN: Sure.

             THE COURT: -- and these are line drawings that aren’t always
             perfect. But --

             MS. QUINLAN: Sure.

             THE COURT: -- your objection is noted and I understand. I just want
             to make sure you had felt you had fair opportunity just to voice it, and
             if you would like to add to it -- the objection, I would give you that
             opportunity.

             MS. QUINLAN: No. No, thank you, Your Honor.

       Id.

             Despite vocalized concerns about Juror 89, Tourangeau did not utilize her

       peremptory challenges to strike Juror 89. App. at JA132. After the parties

       exercised their peremptory challenges, Magistrate Judge Nivison asked the parties

       if the jury was satisfactory. App. at JA133. Both parties indicated that it was. Id.

       Before empaneling the jury, the Magistrate Judge asked Tourangeau if there were

       any issues she wanted to raise. App. at JA133-34. Tourangeau indicated there were

       none. Id. Notably, Tourangeau did not object to the jury on the grounds that it

       violated her constitutional rights, nor did she raise any objection to Nappi’s use of

       its peremptory challenges. App. at JA133-37.


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             After empaneling the jury, the Magistrate Judge again confirmed with the

       parties that they were satisfied with the jury. App. at JA134. Finally, before

       excusing the jury for the day, the Magistrate Judge again confirmed with the

       parties that the jury was satisfactory and that they had no other issues with regard

       to the jury. App. at JA137.

             III.   Evidence of Nappi’s EPA Affirmative Defenses

             It was undisputed that no new wine sales representatives hired by Nappi

       since 2014 have been compensated at a three-percent commission rate. App. at

       JA642; JA907-08. To the contrary, the trial evidence established that all new wine

       sales representatives hired by Nappi since 2014 – regardless of their sex – have

       been compensated at a two-percent commission rate. App. at JA907-08. The trial

       evidence also showed that Nappi decided to transition to a two-percent commission

       rate for new wine sales representatives before Tourangeau ever applied for a

       position at Nappi. App. at JA663; JA906-07. It was further established that the

       move to a two-percent commission rate for new wine sales representatives was part

       of Nappi’s effort to “cap” the amount it was spending on wine sales

       representatives. App. at JA667.

             Nappi Human Resources Director Christine Fox testified that the move to a

       two-percent commission rate for new wine sales representatives was intended to

       bring the overall compensation in the wine department down over time to a


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       realistic level as compared to compensation within Nappi and within the beverage

       industry. App. at JA871-72. She further testified that Nappi’s compensation for

       wine sales representatives stood out as inflated when compared to distributors both

       in the Northeast and nationally. App. at JA871-72; 907. Fox also testified that the

       reduction of the wine sales commissions to two percent helped to offset increased

       costs for fuel, energy, product, shipping, technology, additional support staff, and

       other operating costs. App. at JA875; 907. Fox also noted that the “SevenFifty

       report” Tourangeau had sent to Nappi Wine Sales Director Matt Watson contained

       survey information that supported and “validated” what Nappi was doing with

       regard to reducing compensation of wine sales representatives. App. at JA880-81.

             Fox testified that the reasons existing wine sales representatives were kept at

       three-percent commissions when Nappi adopted the new rate was attributable to

       their seniority at Nappi, their experience in wine sales, and their role in driving

       sales for Nappi. App. at JA872. She elaborated on those considerations as follows:

             Q. Okay. And did you have an understanding as to why Nappi kept
             those individuals at a three percent rate?

             A. Yeah, I mean they -- as I talked previously a couple of times about
             the long tenure, the long seniority that they’ve had, they were
             performing very well for us. We want – Frank wanted to keep them,
             he did not want them to leave the company, you know, so the decision
             was made that we were going to keep them at the three percent and as
             they – like the – one of the retirements is Steve Cohen, when he
             retired and we – his replacement is Matt Auger, Matt took over at two
             percent.


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             Q. Okay. So I think you're indicating Frank Nappi wanted to retain
             these people, their tenure for the company and experience was
             important to him?

             A. Very.

             Q. Okay.

             A. To all of us.

       App. at JA911.

             Nappi President Frank Nappi, Jr., also addressed the company’s decision to

       offer two-percent commissions to all new wine sales representatives starting in

       2014. On that issue, Frank Nappi, Jr. testified as follows:

             Q. And who was responsible for the decision to go from three percent
             to two percent?

             A. Ultimately my decision.

             Q. Okay. And why did you decide to make that change to go to two
             percent for the new wine sales representatives?

             A. It – three percent is not sustainable, not for a long period of time.
             With wine our margins are not huge and over time they've – they’ve
             shrunk. So we make a lot less money so there is a lot less to pass on.

       App. at JA977. He further indicated that Nappi was trying to bring the wine sales

       representatives’ compensation within a range so that the company could support

       that compensation. App. at JA982.

             Frank Nappi, Jr., also explained why he retained the existing wine sales

       representatives at three percent. In that regard, he testified:


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             Q. Okay. You also were asked some questions about -- or I believe the
             existing wine sales representatives were kept at three percent
             commission; is that right?

             A. The ones with long tenure, yes.

             Q. Okay. And why did you keep those at three percent?

             A. Selling a wine sales route takes – takes a lot of work. You need to
             develop relationships with your accounts to get, you know, most of
             their business. You know, instead of having three bottles on the shelf,
             you want six bottles on the shelf or 12. You want all their business,
             and it takes a while to – to grow that. And if you – if you – if a
             salesperson that’s been there for 20 years, you break down their
             commission rate from three to two and they decide to leave, it will
             take a very long time, perhaps a year, two years, to develop that route
             again.

             Q. Okay. So it was the – you valued their – their tenure and seniority
             with regard to those type of – of activities?

             A. Yes.

       App. at JA977-78.

             IV.    Jury Instructions

             On the fourth day of trial, the District Court reviewed the proposed jury

       instructions with the parties. With regard to Nappi’s affirmative defenses under the

       EPA, the District Court proposed the following instruction:

             What -- what it now says -- I think we can continue with the
             discussion. What it says is Nappi -- if you find Ms. Tourangeau has
             proven her claim, and this is under the Equal Pay Act, you will then
             consider Nappi’s -- Nappi Distributors’ defenses. Nappi has asserted
             that any difference in pay between Ms. Tourangeau and male workers
             are due to differences in their seniority, to application of the merit
             system to quantity or quality of production, and/or to a business
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             decision such as adjusting its payroll to reflect the industry standards
             not based on gender. On these affirmative defenses Nappi bears the
             burden of proof to demonstrate its affirmative defenses are more
             likely than not true or not.

       App. at JA1029-30. Tourangeau conceded during the discussion of the proposed

       EPA instruction that, “I think they’re entitled to the affirmative defense on the idea

       that this was a business judgment or another factor as we talked about initially….”

       App. at JA1028. The District Court further noted that “the [defense] that clearly

       has been generated is business decisions such as adjusting its payroll to reflect

       industry standards not based on gender.” App. at JA1030. When the District Court

       confirmed that it intended to instruct the jury on the “quantity or quality of

       production” defense and the business decision unrelated to sex defense,

       Tourangeau did not object. App. at JA1030-31.

             This colloquy was reinforced during the discussions the District Court had

       with the parties regarding the proposed jury verdict form. In that context,

       Tourangeau sought to ensure that “the affirmative defense language [in the verdict

       form] tracks the discussion we’ve already had about seniority system, merit based,

       et cetera.” App. at JA1066. The District Court confirmed that the inquiry on the

       verdict form pertinent to Nappi’s EPA defenses would conform to the instructions

       generated by the evidence:

             We’d have to eliminate -- so we’re – we’re really talking -- this talks
             about bona fide seniority system, and we have -- and depending on the
             information you give me I may or may not include seniority system,
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             we’re striking merit system. And then we need to infuse and/or
             business decision.

       App. at JA1066-67. Tourangeau confirmed that she did not have any further issues

       with the EPA defense question on the proposed verdict form. App. at JA1067.

             On the final day of trial, the District Court discussed with the parties its

       decision with respect to instructing on a bona fide seniority system as an

       affirmative defense to the EPA claim. App. at JA1175-76. Importantly, the District

       Court distinguished between a bona fide seniority system and the term

       “grandfathering” as used consistently at trial, indicating it would incorporate

       grandfathering within the parameters of the business-related affirmative defense.

       App. at JA1176. The discussion was as follows:

             THE COURT: Let me talk about seniorities and affirmative defense
             under the Equal Pay Act. I looked at AT&T versus Hulteen, H-U-L-T-
             E-E-N, which is 556 U.S. 701, and this quotes California Brewer’s,
             which is 444 U.S. 598, a 1980 case. And it says here, a seniority
             system is a scheme that, alone or in tandem with non-seniority
             criteria, allots to employees ever-improving rights and benefits as
             their relative lengths of employment increase. That’s not what
             happened here. It’s just not what happened here. This is – Nappi’s
             change was grandfathering. It wasn’t a bona fide seniority system in
             which you get ever-improving rights and benefits as your relative
             length of employment increases. So I'm not going to instruct on -- on
             seniority.

             MR. WALL: I understand our objection is on the record.

             THE COURT: Sure.




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              MR. WALL: I mean, Your Honor, if it’s incorporated within the sort
              of parameters of the fourth provision that grandfathering is a –
              business-related rationale that’s not related to sex –

              THE COURT: No, you can argue that, but I’m talking about your –
              your request that I instruct the jury on seniority as an affirmative
              defense. I don’t think you have met it.

       App. at JA1175-76. The District Court further ruled that Nappi could use the term

       “seniority” in the colloquial fashion in closing, as the evidence established these

       individuals had seniority and tenure with Nappi. App. at JA1180. Tourangeau did

       not object to that ruling. Id.

              Also on the last day of trial, the District Court declined to include language

       requested by Tourangeau relative to her EPA claim. Specifically, Tourangeau

       asked the District Court to include the following jury instruction that she

       represented was drawn from Corning Glass Works v. Brennan, 417 U.S. 188

       (1974):

                 If you find that Nappi’s has proven their defense, that the decision to pay
              Ms. Tourangeau was based on a neutral factor other than sex, but that it
              nevertheless operated to perpetuate the effects of the company’s prior illegal
              practice of not hiring women for the sales representative positions, then you
              must find in Ms. Tourangeau’s favor.

       ECF No. 142, at 12. After reviewing the facts and holding of Corning, the District

       Court denied the request:

              What I -- what I see Corning as saying is that if an employer’s prior
              discriminatory practice is baked into its wage structure, even after it
              changed its wage structure, a company’s insistence that it change its


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               wage structure neutrally doesn’t eliminate its prior discrimination.
               That’s the way I read it.

               So I don’t think that’s what happened here under any scenario because
               Ms. Tourangeau was the first woman hired. So there is no evidence
               that Nappi paid women sales representatives less before it hired Ms.
               Tourangeau because Ms. Tourangeau was the first woman, so there is
               no indication that any of its prior practice was baked into what it did
               here. This was a new practice, which you claim, I think the jury will
               decide, was discriminatory. But it’s not a function of -- it's not a wage
               structure that was baked into its current structure for which it’s now
               offering a neutral reason. So the bottom line is I don’t think Corning
               applies and I’m not going to give the instruction.

       App. at JA1174-75.

               After the close of evidence, the District Court instructed the jury on the EPA

       claim, including Nappi’s defenses. With regard to the latter, the District Court told

       the jury:

               If you find that Ms. Tourangeau has proven her claim, you will then
               consider Nappi’s defenses. Nappi has asserted that any differences in
               pay between Ms. Tourangeau and male workers are due to quantity or
               quality of production and/or to a business decision, such as adjust its
               payroll to reflect industry standards not based on gender. On these
               affirmative defenses, Nappi bears the burden of proof to demonstrate
               its affirmative defenses are more likely true than not.

       App. at JA1253.2 In addition, the District Court reviewed the verdict form with the

       jury:



       2
         The transcription of the Court’s oral jury instructions did not capture the comma after
       “standards” that appears in the Court’s written instructions – i.e., “a business decision, such as
       adjust its payroll to reflect industry standards, not based on gender.” However, Nappi believes
       the Court conveyed that comma through its inflection when it read the instruction.

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             Two. This is the affirmative defense. Has Nappi Distributors proven,
             by a preponderance of the evidence, that the differential in pay
             between Ms. Tourangeau and the comparable male employee, or
             employees, was due to quantity or quality of production and/or to a
             business decision such as adjusting its payroll to reflect industry
             standards, not based on gender? Yes or no.

       App. at JA1268.

             Tourangeau addressed the EPA affirmative defenses in her closing. In

       discussing the preponderance of the evidence standard and how it applied to

       Nappi’s defenses, she stated:

             The same is true for affirmative defenses. So if Nappi is able to prove
             that the only reason they did what they did when it comes to
             Michele’s compensation, the only reason was business necessity, and
             you put those facts on the same scale and it tips ever so slightly in
             their favor, then you would find for them on that affirmative defense.

       App. at JA1290.

             Finally, after the parties presented their closing statements, the District Court

       met with them at sidebar prior to committing the case to the jury. During that

       sidebar conference, the District Court confirmed with Tourangeau that she did not

       have any objections to the jury instructions other than those the District Court had

       already resolved, and she had no additions to the instructions. App. at JA1326.

             V.     Juror Conduct

             Juror No. 161 responded in the negative to all questions on the printed juror

       questionnaire, including the following:



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                7. The law protects against discrimination of individuals with certain
                   medical conditions, including a woman’s pregnancy. Do you have any
                   strong feelings or philosophical beliefs about such laws that might
                   interfere with your ability to be fair and impartial in a case in which the
                   laws might apply?

                8. Do you have any strong personal feelings or philosophical beliefs about
                   an individual’s ability to bring a lawsuit to recover money damages that
                   might interfere with your ability to be a neutral impartial decision-maker
                   in a case in which a person is seeking money damages?

       App. at JA053; ECF No. 139, at 2. None of the prospective jurors stood in

       response to the Magistrate Judge’s question: “Do you believe that there are any

       circumstances under which a man and a woman, with the same experience,

       education, and seniority, should be paid a different wage for performing the same

       job?” App. at JA048.

             Before the fourth day of trial, Tourangeau moved to disqualify Juror No.

       161. In part, she argued that “it appears” Juror No. 161 lied in his responses to the

       written juror questionnaire based on his “Facebook interests.” ECF No. 186, ¶ 5. In

       support of that assertion, she represented that Juror No. 161 “is part of a secret

       Facebook group called #FEDUP.” ECF No. 186, ¶ 9. However, Tourangeau

       presented nothing of evidentiary quality to substantiate that there is a “Facebook

       group,” or that the “group” is secret, or that Juror No. 161 is “part” of a “secret

       group.” Rather, at most she represented to the Court that Juror No. 161 “liked” a

       Facebook page called “#FEDUP” she suggested (again, without any evidentiary

       support) contains a statement about “how we can come together for change and
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       resistance against the liberal/ democratic/socialist agenda.” ECF No. 186, ¶¶ 9-10.

       She further suggested that the alleged Facebook page “appears distinctly opposed

       to the rights of women and all other minority groups” – although she provided no

       specific evidentiary information to substantiate that characterization. ECF No. 186,

       ¶ 10. Finally, she suggested that based on Juror No. 161’s “participation” in this

       “Facebook group,” it was clear that Juror No. 161 lied in his responses to questions

       7 and 8 quoted above. ECF No. 186, ¶ 5.

             In her motion to disqualify, Tourangeau also suggested that her counsel

       observed Juror No. 161 rolling his eyes and exhibiting “obvious distain” for her

       testimony. ECF No. 186, ¶ 8. She further suggested that her counsel heard Juror

       No. 161 making “biased utterances” during her testimony – although she never

       indicated the substance of those utterances – and “scoffing” at and disregarding

       testimony about Frank Maiorino. Id. There is nothing of evidentiary quality to

       substantiate any of those allegations, nor did Tourangeau suggest how she knows

       Juror No. 161 “disregarded” any specific piece of testimony.

             In her reply in support of her motion, the materials Tourangeau submitted –

       which were themselves unauthenticated – did not substantiate most of the

       assertions in the motion. The documents did not reflect that Juror No. 161 was part

       of or participated in a “secret Facebook group,” nor did they establish that the

       Facebook page Juror No. 161 apparently “liked” was opposed to the rights of


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       women and all other minority groups. Tourangeau provided the District Court with

       no information as to when the page was formed, when Juror No. 161 supposedly

       liked the page, or when Juror No. 161 supposedly last visited the page. Moreover,

       Tourangeau presented no statements or other evidence that Juror No. 161 either

       saw, liked, agreed with, or adopted any particular post on that Facebook page. In

       particular, Tourangeau did not identify any posts about: one, employment

       discrimination laws in particular or rights of persons with certain medical

       conditions in general; or two, an individual’s ability to bring a lawsuit to recover

       money damages.

             Finally, Tourangeau never presented any specific evidence – as opposed to

       unsubstantiated generalities – of Juror No. 161’s supposed utterances, scoffs,

       glares, frustrated sighs, and body language. To the contrary, Tourangeau relied

       entirely on the unverified and ambiguous representations of counsel.

             When the District Court reviewed Tourangeau’s motion with the parties,

       Tourangeau conceded that she did not know when Juror No. 161 liked the

       Facebook page. App. at JA1230. The District Court asked Tourangeau: “do we

       know from the fact he liked it what it was he liked about it?” App. at JA1232.

       Tourangeau could not identify any facts to answer the District Court’s question,

       only speculation and broad generalities by counsel concerning “people who follow

       these types of accounts on Facebook,” which the District Court properly rejected:


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             THE COURT: Well, I mean I hear you, but there is really no evidence
             of that. I hear what you’re telling me, but I don’t – I’m not so sure that
             there is evidence of that.

       App. at JA1232. Moreover, as Nappi pointed out, there was nothing on Juror No.

       161’s personal Facebook page that suggested he liked or shared any posts from

       “#100percentFEDUP” and no evidence to support the conclusion that simply liking

       a Facebook page means that a person agrees with or adopts everything that might

       be posted by others on that page. App. at JA1233-34. And contrary to

       Tourangeau’s speculation about Juror No. 161’s views, his own posts on Facebook

       about women and pregnancy were limited to sporting groups that included men

       and women and a picture of the juror with his wife and their new baby. App. at

       JA1234.

             The Court denied the motion to disqualify. First, the District Court indicated

       that Tourangeau had failed to demonstrate a colorable instance of potential juror

       bias because there was no evidence that Juror No. 161 lied in responding to

       questions 7 and 8 of the juror questionnaire:

             My view of this is first that questions seven and eight do not ask the
             juror to reveal facts. They ask the juror to reveal his opinions and they
             ask his opinion about whether or not he could be fair and impartial in
             those two types of cases.

             So I don’t -- he -- he said that -- he responded that in his view he
             would not be biased, effectively, and that’s different than French. …
             So I see this – it’s hard to delve into an opinion about one’s own
             ability to be fair and impartial and conclude, unlike in French, that
             there -- that the juror has lied.
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             Second, I mentioned that the first question was whether or not a juror
             could be fair about a case that involves a medical condition involving
             pregnancy. I have looked at the website; I don’t really see a
             connection between the website and that question.

             Secondly, question eight asks about a person bringing a lawsuit. It’s
             not specific about women. It’s not specific about discrimination. It’s
             not specific about unequal pay. So I don’t think this is like French in
             that regard.

       App. at JA1239-40. The District Court indicated that to the extent Juror No. 161

       liked a Facebook page for 100percentfedup.com, the most he could reasonably

       infer from the information provided is that Juror No. 161 is a politically

       conservative person. App. at JA1240. The District Court noted that there was no

       evidence that Juror No. 161 liked any particular postings or what was in his mind

       with regard to any particular posting. Id. Nor did the District Court think it was fair

       to infer that a person who liked the page agreed with everything on the page. App.

       at JA1240-41. The District Court concluded that it would not be fair to infer that a

       person who liked the website could not be a fair and impartial juror. App. at

       JA1240.

             Finally, the District Court noted that he had been observing Juror No. 161’s

       demeanor since Tourangeau had filed her motion. In that regard, the District Court

       stated that he could not hear Juror No. 161 and therefore did not know if he had

       ever “scoffed.” App. at JA1242. He also stated that Juror No. 161 would



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       “occasionally … look up as if he is sort of frustrated,” but the District Court went

       on to state:

              I haven’t noticed that he has been doing that at any particular time. In
              other words, he doesn’t look up more when Mr. Wall is asking
              questions as opposed to the plaintiff asking questions. So I’m not
              convinced, from what I have seen here, that he has exhibited body
              language and an attitude that would render him disqualified.

       App. at JA1242.


                      STATEMENT OF THE STANDARDS OF REVIEW

              Tourangeau challenges the District Court’s denial of her motion for a new

       trial on several issues. The Court reviews her assertion that the District Court erred

       in ruling that the evidence supported the jury’s verdict on her EPA claim for abuse

       of discretion. Raiche v. Pietroski, 623 F.3d 30, 41 (1st Cir. 2010). Under that

       standard of review, the Court takes “both the facts and the reasonable inferences

       therefrom in the light most hospitable to the jury’s verdict.” Poy v. Boutselis, 352

       F.3d 479, 485 (1st Cir. 2003) (alteration in original) (quoting Correa v. Hosp. S.F.,

       69 F.3d 1184, 1188 (1st Cir. 1995)). As this Court has noted, its review is

       circumscribed because “[c]ircuit judges, reading the dry pages of the record, do not

       experience the tenor of the testimony at trial.” Jones ex rel. United States v. Mass.

       Gen. Hosp., 780 F.3d 479, 492 (1st Cir. 2015) (quoting Jennings v. Jones, 587 F.3d

       430, 436-37 (1st Cir. 2009)). The Court “may set aside a jury’s verdict and order a

       new trial only if the verdict is against the demonstrable weight of the credible
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       evidence or results in a blatant miscarriage of justice.” Sanchez v. P.R. Oil Co., 37

       F.3d 712, 717 (1st Cir. 1994).

             The Court reviews Tourangeau’s assertion that the District Court erred in

       instructing the jury on her EPA claim de novo. Crowley v. L.L. Bean, Inc., 303

       F.3d 387, 394 (1st Cir. 2002). “‘The trial court’s refusal to give a particular

       instruction constitutes reversible error only if the requested instruction was (1)

       correct as a matter of substantive law, (2) not substantially incorporated into the

       charge as rendered, and (3) integral to an important point in the case.’” Faigin v.

       Kelly, 184 F.3d 67, 87 (1st Cir. 1999) (quoting Elliott v. S.D. Warren Co., 134 F.3d

       1, 6 (1st Cir. 1998)).

             The Court reviews Tourangeau’s assertion that the District Court erred in

       ruling on challenges for cause during jury selection for clear abuse. United States

       v. Bartelho, 71 F.3d 436, 443 (1st Cir. 1995) (citations omitted). Trial courts have

       “considerable discretion in ruling on challenges for cause.” United States v.

       Gonzalez-Soberal, 109 F.3d 64, 69 (1st Cir. 1997) (citing Dennis v. United States,

       339 U.S. 162, 168 (1950)). Therefore, the Court has emphasized that “[t]here are

       few aspects of a jury trial where we would be less inclined to disturb a trial judge’s

       exercise of discretion, absent clear abuse, than in ruling on challenges for cause in

       the empaneling of a jury.” United States v. McCarthy, 961 F.2d 972, 976 (1st Cir.

       1992).


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             Finally, the Court reviews Tourangeau’s assertion that the District Court

       erred in denying her a new trial based on alleged juror bias for abuse of discretion.

       Crowley, 303 F.3d at 393-94 (quoting Dall v. Coffin, 970 F.2d 964, 969 (1st Cir.

       1992)). “To secure a new trial based on a juror’s inaccurate answers during voir

       dire, ‘a party must first demonstrate that a juror failed to answer honestly a

       material question on voir dire, and then further show that a correct response would

       have provided a valid basis for cause.’” Id. at 407 (quoting McDonough Power

       Equip., Inc. v. Greenwood, 464 U.S. 548, 556 (1984)). The party raising the

       challenge “‘must do more than raise a speculative allegation that the juror’s

       possible bias may have influenced the outcome of the trial.’” Id. (quoting Dall, 970

       F.2d at 969).


                              SUMMARY OF THE ARGUMENT

             The District Court’s denial of Tourangeau’s motion for a new trial was

       proper in all respects. Based on the trial evidence, a rational jury could well have

       found – and the jury in this case did find – that Nappi proved by a preponderance

       of the evidence an affirmative defense to Tourangeau’s EPA claim. Specifically,

       the evidence supported the jury’s determination that any differences in pay

       between Tourangeau and other male sales representatives were due to quantity or

       quality of production or to a business decision – such as adjusting Nappi’s payroll

       to reflect industry standards – not based on gender.
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             The District Court did not err in instructing the jury on Tourangeau’s EPA

       claim. The District Court’s instruction on Nappi’s EPA affirmative defenses

       comported with controlling substantive law and, in any event, Tourangeau waived

       any objection she had to that instruction. Moreover, the District Court correctly

       ruled that Tourangeau was not entitled to her proffered “Corning instruction”

       because the evidence at trial did not implicate that instruction.

             The District Court did not abuse its discretion in ruling on challenges for

       cause during jury selection. As the record reflects, the District Court thoroughly

       examined the pertinent jurors to explore any potential for bias and articulated its

       reasons for its rulings. Indeed, the District Court specifically and thoughtfully

       addressed why it excused one juror for cause and not the other. The District Court

       did not clearly abuse its considerable discretion by those rulings.

             Finally, the District Court did not abuse its discretion in refusing to grant

       Tourangeau a new trial based on her complaints about Juror No. 161. Tourangeau

       did not present any competent evidence that Juror No. 161 failed to answer

       honestly a material question on voir dire, nor did she present any competent

       evidence that a correct response would have provided a valid basis for cause.

       Finally, Tourangeau offered nothing more than speculative allegations that Juror

       No. 161 was potentially biased or that his potential bias influenced the outcome of




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       the trial. For all of these reasons, this Court should affirm the District Court’s

       ruling on Tourangeau’s new trial motion.


                                           ARGUMENT

       I.    THE TRIAL EVIDENCE SUPPORTED THE JURY’S VERDICT ON
             NAPPI DISTRIBUTORS’ DEFENSE TO TOURANGEAU’S EPA
             CLAIM.

             Contrary to Tourangeau’s argument on appeal, the District Court did not

       abuse its discretion by denying her request for a new trial based on her assertion

       that the evidence did not support a finding for Nappi on its EPA affirmative

       defenses. “[C]ourts may only grant a judgment contravening a jury’s determination

       when the evidence points so strongly and overwhelmingly in favor of the moving

       party that no reasonable jury could have returned a verdict adverse to that party.”

       Monteagudo v. Asociacion de Empleados del Estado Libre Asociado, 554 F.3d

       164, 170 (1st Cir. 2009) (citations omitted). “As part of this analysis, courts ‘may

       not consider the credibility of witnesses, resolve conflicts in testimony, or evaluate

       the weight of the evidence.’” Mesías v. Hosp. Hima San Pablo, No. 18-1988

       (JAG), 2021 U.S. Dist. LEXIS 57090, at *3 (D.P.R. Mar. 24, 2021) (quoting James

       Wm. Moore, Moore’s Federal Practice § 50.06[6][b] (3d ed. 2003)). Moreover,

       this Court has held that “[w]here the trial judge has denied a motion for a new trial

       on the issue of the sufficiency of the evidence, it is ‘only in a very unusual case

       that we will reverse such a ruling as an abuse of discretion.’” Raiche, 623 F.3d at
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       41 (quoting Wagenmann v. Adams, 829 F.2d 196, 200 (1st Cir. 1987) (citations

       omitted)). As the following discussion demonstrates, this is not that “very unusual

       case.”

          A. Tourangeau waived any objection she may have had regarding
             submission of Nappi’s EPA affirmative defense to the jury.

                Tourangeau’s primary argument with regard to the sufficiency of the

       evidence appears to be grounded on the premise that the term “grandfathering” is

       inexorably synonymous with “seniority system.” Blue Br. at 26-27. She argues that

       since Nappi did not present evidence of a documented seniority system, the jury

       could not consider “grandfathering” in any other sense in evaluating Nappi’s

       business decision that was not based on gender. Id. at 27.

                As an initial matter, the Court should hold that Tourangeau waived any

       argument that the trial evidence could not support Nappi’s EPA affirmative

       defense pertaining to business reasons unrelated to sex based on her failure to

       object to the District Court’s jury instruction and its more general understanding of

       the concept of “grandfathering.” In Tang v. Citizens Bank, 741 F. App’x 11 (1st

       Cir. 2018), this Court held that a party had waived any objection it may have had

       to the jury instructions if the party allowed the case to be submitted to the jury

       without an objection on the record. Id. at 13 (citing Fed. R. Civ. P. 51(c)(2)(B)).

       Similarly, in Ray v. Ropes & Gray LLP, 799 F.3d 99 (1st Cir. 2015), this Court

       held that a party that has bypassed the opportunity to challenge and perhaps modify
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       a jury instruction as stated by the court has “‘waived any right to object to [it] on

       appeal.’” Id. at 212 (quoting United States v. Wall, 349 F.3d 18, 24 (1st Cir.

       2003)).

             Tourangeau conceded that the trial evidence supported submission of

       Nappi’s EPA defense based on a business decision that had nothing to do with sex

       to the jury. When the District Court was reviewing the jury instructions with the

       parties, Tourangeau, through counsel, stated: “I think they’re entitled to the

       affirmative defense on the idea that this was a business judgment or another factor

       as we talked about initially….” App. at JA1028. The District Court further noted

       that “the [defense] that clearly has been generated is business decisions such as

       adjusting its payroll to reflect industry standards not based on gender.” App. at

       JA1030. When the District Court confirmed that it intended to instruct the jury on

       the “quantity or quality of production” and the business decision unrelated to sex

       defenses, Tourangeau did not indicate any objection. Id.

             Likewise, Tourangeau did not object to the District Court’s ruling that

       “grandfathering” – as a more general concept independent of a seniority system –

       could be considered as part of the business reason unrelated to gender. Before the

       final day of trial, the District Court advised the parties of its decision with respect

       to instructing on a bona fide seniority system as an affirmative defense to the EPA

       claim. App. at JA1175-76. In declining to instruct on the seniority system defense,


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       the District Court distinguished between a bona fide seniority system and the term

       “grandfathering,” as used at trial, and indicated that it would incorporate

       grandfathering within the parameters of the business-related affirmative defense.

       Id. The District Court further ruled that Nappi could use the colloquial meaning of

       the term “seniority” in closing, as the evidence established these individuals had

       seniority and tenure with the company. App. at JA1180. Tourangeau did not object

       to any of those rulings by the District Court. Id. Therefore, Tourangeau has waived

       any argument she may have had that the trial evidence could not support a jury

       verdict for Nappi on that defense, and the Court should affirm the District Court’s

       denial of a new trial on that ground. See Tang, 741 F. App’x at 13.

          B.    As the District Court correctly held, the trial evidence supported the
                jury’s conclusion that Nappi had proved its EPA affirmative defense.

               Tourangeau contends that the jury’s verdict as to Nappi’s EPA affirmative

       defense is contrary to the great weight of evidence because the evidence did not

       explain how the decision to compensate Tourangeau with a two-percent

       commission was a business decision unrelated to sex. However, as the District

       Court discussed in exhaustive detail, her contention is without merit, as there was

       overwhelming evidence presented at trial for the jury to determine that Nappi’s

       decision was based on business considerations unrelated to sex.

               The trial evidence established that all new wine sales representatives hired

       by Nappi since 2014 – regardless of their sex – have been compensated at a two-
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       percent commission rate. App. at JA907-08. Moreover, Nappi’s decision to move

       to a two-percent commission rate for new wine sales representatives was made

       before Tourangeau ever applied to Nappi. App. at JA663-64; 906-07. And, as

       Nappi explained at trial, the transition was part of Nappi’s effort to “cap” the

       amount it was spending on wine sales representatives. App. at JA667.

             Frank Nappi, Jr., Nappi’s President and the person who ultimately made the

       decision to transition to a two-percent commission rate, explained that continuing

       with a three-percent commission rate in the wine department was not feasible from

       a business standpoint. App. at JA977. He explained that three percent was not

       sustainable for a long period of time because Nappi’s wine margins were

       shrinking, causing Nappi as a company to make a lot less money to pass on. Id.

       Consistent with the reality of shrinking margins, Human Resources Director

       Christine Fox explained that the reduction to two percent helped to offset increased

       costs associated with fuel, energy, product, shipping, technology, additional

       support staff, and other rising operating costs. App. at JA875; JA907.

             In addition, Fox testified that the move to a two-percent commission rate for

       new wine sales representatives was intended to bring the overall compensation in

       the wine department down over time to a realistic level as compared to

       compensation within Nappi and within the beverage industry. App. at JA871. Fox

       explained at trial that Nappi’s compensation for wine salespeople stood out as


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       inflated compared to distributors both in the northeast and nationally. App. at JA

       871-72; 907. In support of this assertion, Fox cited to the “SevenFifty report”

       Tourangeau had sent to Wine Sales Director Matt Watson, which contained survey

       information that supported and validated what Nappi was doing with regard to

       reducing compensation of wine sales representatives. App. at JA880-81.

             Furthermore, there was sufficient evidence at trial for the jury to conclude

       that Nappi’s decision to “grandfather” its existing wine sales representatives was

       based on business reasons unrelated to sex. At trial, the evidence established that

       Nappi’s adoption of a two-percent commission rate for new wine sales

       representatives after 2014 would not apply to existing wine sales representatives,

       who would maintain their current three-percent commission rates. App. at JA872;

       977-78. Thus, when the term “grandfathering” was used at trial, it was used in its

       colloquial sense to describe this arrangement whereby Nappi essentially drew a

       line in the sand – all wine sales representatives hired before 2014 would maintain

       their current commission rate and all those hired after 2014 would be hired at the

       two-percent rate. And, through attrition, the “three-percenter” would eventually be

       replaced with “two-percenter.” App. at JA911. Notably, the evidence established

       that Nappi had applied this rule consistently and indiscriminately to all new wine

       salespeople since 2014.

             Nappi explained its decision to “grandfather” the existing wine sales


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       representatives was based on numerous factors, none of which related to sex.

       Nappi explained at trial that the existing sales representatives had established

       positions and tenure at Nappi, significant experience in wine sales, were doing

       very well for the company, and played a major role in driving sales for Nappi.

       App. at JA872. Frank Nappi, Jr., expounded that relationships with accounts that

       are developed over time are an important aspect of wine sales and that Nappi

       valued the relationships the existing sales representatives had with their accounts.

       App. at JA977-78. Moreover, Nappi feared that decreasing the commission rates

       for its existing salespeople would cause Nappi to lose the experienced,

       knowledgeable, and loyal salespeople it had. Id. Therefore, there was more than

       sufficient evidence at trial for the jury to conclude that Nappi had proven its

       affirmative defense to the EPA claim and this Court should affirm that decision.

             Finally, Tourangeau’s contention that the evidence at trial did not support

       grandfathering – in its naturally understood sense – distinct from a bona fide

       seniority system as an affirmative defense to the EPA claim lacks credibility.

       Indeed, the District Court noted that this argument was “borderline frivolous.” Add

       at 41. As the District Court correctly reasoned, it was Tourangeau – not Nappi –

       that first introduced the term “grandfathering” to the jury, suggesting in her

       opening that Nappi was going to claim that “[Tourangeau’s] colleagues are

       grandfathered into their higher rates while she is not.” App. at JA168.


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       Tourangeau’s counsel told the jury they would be hearing the term

       “grandfathering” a lot this week, and then went on to compare Nappi’s use of

       grandfathering in compensation decisions to the South’s historic repression of

       African Americans. App. at JA168-69. Neither Tourangeau in her opening, nor

       Nappi in explaining how the concept of “grandfathering” factored into its

       compensation decisions, used or understood the term to refer to (or be synonymous

       with) a bona fide seniority system. For these reasons and for those outlined above,

       the Court properly permitted Nappi to argue that “grandfathering” fell within the

       purview of the fourth “catch all” affirmative defense to the EPA, and there was

       more than sufficient trial evidence for the jury to reasonably conclude that Nappi’s

       decision to grandfather certain employees and not others was a business decision

       unrelated to sex.

       II.   THE TRIAL EVIDENCE DID NOT SUPPORT TOURANGEAU’S
             PROFFERED “CORNING INSTRUCTION.”

             Tourangeau argues on appeal that the District Court erred in refusing to give

       the jury a proposed instruction ostensibly based on Corning Glass Works v.

       Brennan, 417 U.S. 188 (1974). Specifically, Tourangeau asked the District Court

       to instruct the jury as follows:

                If you find that Nappi’s has proven their defense, that the decision to pay
             Ms. Tourangeau was based on a neutral factor other than sex, but that it
             nevertheless operated to perpetuate the effects of the company’s prior illegal
             practice of not hiring women for the sales representative positions, then you
             must find in Ms. Tourangeau’s favor.
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       Add. at JA83. The District Court properly declined to give the proposed instruction

       because it does not accurately state the law and it was not justified by the trial

       evidence. In any event, the District Court’s EPA instruction in its totality

       adequately informed the jury as to the controlling substantive law.

              This Court has held that “[a] trial court is obliged to inform the jury about

       the applicable law, but, within wide limits, the method and manner in which the

       judge carries out this obligation is left to his or her discretion.” Elliott v. S.D.

       Warren Co., 134 F.3d 1, 6 (1st Cir. 1998). The Court has further stated that “the

       real test is whether as a whole ‘the instructions adequately illuminate the law

       applicable to the controlling issues in the case without unduly complicating matters

       or misleading the jury.’” Rosa-Rivera v. Dorado Health, Inc., 787 F.3d 614, 620

       (1st Cir. 2015) (citing United States v. DeStefano, 59 F.3d 1, 3 (1st Cir. 1995)). “A

       refusal to give a particular instruction constitutes reversible error only if the

       requested instruction was (1) correct as a matter of substantive law, (2) not

       substantially incorporated into the charge as rendered, and (3) integral to an

       important point in the case.” Estate of Keatinge v. Biddle, 316 F.3d 7, 17 (1st Cir.

       2002) (citing Elliott, 134 F.3d at 6). In discussing this standard, this Court has

       stated that “[t]he district court should refuse a request for an instruction that states

       a legal holding which is not applicable to the facts, even if it is otherwise



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       correct.” Id. (citing 9A C.A. Wright & A.R. Miller, Federal Practice and

       Procedure § 2552 (2d ed. 2002)).

              None of the elements of reversible error exist with regard to the District

       Court’s refusal to include the language quoted above in the jury instructions. First,

       Corning does not stand for the proposition in Tourangeau’s requested instruction.

       In Corning, the EPA violation was based on the fact that, after Congress passed the

       EPA, Corning paid female inspectors less than male inspectors for equal work.

       Corning, 417 U.S. at 207. Regarding Corning’s argument that it cured this

       inequality by making changes to its pay structure moving forward, the Supreme

       Court held that this measure did not relieve Corning of responsibility under the

       EPA because it did not address the historical unequal pay based on sex:

              We therefore conclude that on the facts of this case, the company's
              continued discrimination in base wages between night and day
              workers, though phrased in terms of a neutral factor other than sex,
              nevertheless operated to perpetuate the effects of the company's prior
              illegal practice of paying women less than men for equal work.

       Id. at 209-10 (citing Griggs v. Duke Power Co., 401 U.S. 424, 430 (1971)). In

       short, the Supreme Court’s decision in Corning turns not on alleged historical

       discriminatory treatment generally,3 but rather on a historical “practice of paying

       women less than men for equal work.” Id. (emphasis added). Therefore, Corning



       3
         The Supreme Court in Corning observed that the EPA’s specific purpose was to address wage
       inequality based solely on sex. Id. at 195.

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       does not support Tourangeau’s proposed language, which refers to “the company’s

       prior illegal practice of not hiring women for the sales representative positions”4

       and not to a prior practice of paying women at a different rate than men to work as

       wine sales representatives.

              Second, the pertinent portion of the Corning decision is not implicated by

       the trial evidence. Tourangeau did not present any evidence that Nappi had a

       practice of paying women at a different rate than men to work as wine sales

       representatives prior to its decision to compensate new wine sales representatives

       with two-percent commissions. Moreover, the testimony established that all new

       wine sales representatives hired since 2014 – beginning with Tourangeau – have

       received two percent commissions, regardless of their sex. App. at JA907-08.

       Consequently, as the District Court correctly observed in denying Tourangeau’s

       requested instruction, the Supreme Court’s reference in Corning to a “prior illegal

       practice of paying women less than men for equal work” has no relevance to the

       issues in this case:

              So there is no evidence that Nappi paid women sales representatives
              less before it hired Ms. Tourangeau because Ms. Tourangeau was the
              first woman, so there is no indication that any of its prior practice was
              baked into what it did here. This was a new practice, which you claim,
              I think the jury will decide, was discriminatory. But it's not a function

       4
         Nappi did not engage in an alleged prior illegal practice of not hiring women for the sales
       representative positions. Indeed, the jury found Tourangeau had not proven that Nappi had
       discriminated against her on the basis of sex. Add. at 2 (question 6). Therefore, even on its own
       terms, Tourangeau’s proposed instruction was unsupported.

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             of -- it's not a wage structure that was baked into its current structure
             for which it's now offering a neutral reason. So the bottom line is I
             don't think Corning applies and I'm not going to give the instruction.

       App. at JA1174-75.

             Third, Nappi’s burden of proof with regard to its affirmative defenses is

       substantially incorporated in the instructions the District Court gave the jury as to

       the EPA claim. The District Court eliminated the affirmative defenses set forth in

       Section 206(d)(1) that it ruled were not generated by the trial evidence. As noted

       above, the District Court concluded – and Tourangeau agreed – that the evidence

       justified an instruction on Nappi’s defense of “a business decision, such as adjust

       its payroll to reflect industry standards, not based on gender.” App. at JA1028 &

       1030. The District Court also concluded that the evidence justified an instruction as

       to Nappi’s defense based on quantity or quality of production. App. at JA1030.

       Finally, the District Court instructed the jury that Nappi bore the burden of proof to

       demonstrate its affirmative defenses are more likely true than not. App. at JA1253.

       Therefore, the District Court’s instruction on Nappi’s burden with regard to the

       affirmative defenses generated by the evidence more than adequately informed the

       jury as to the controlling law. See U.S. Dist. Ct. for Maine – Pattern Jury

       Instruction for Cases of Employment Discrimination 4.1 & nn. 5-6; see also

       Henderson v. Chartiers Valley Sch., 136 F. App’x 456, 460 (3d Cir. 2005) (holding

       that instruction that advised the jury that “Defendant must prove that a factor other


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       than sex caused them to set the salaries that they did,” (emphasis in original)

       correctly stated the burden that an employer needed to meet in proving its

       affirmative defense under the EPA). For all of these reasons, the District Court

       properly denied Tourangeau’s request for the jury instruction she claims she

       derived from Corning, and this Court should affirm that ruling.

       III.   THE DISTRICT COURT’S RULINGS DURING JURY SELECTION
              ON CHALLENGES FOR CAUSE WERE WELL WITHIN ITS
              CONSIDERABLE DISCRETION.

              Tourangeau argues that the District Court erred during jury selection in

       excusing Juror No. 14 for cause and declining to sustain a cause objection with

       regard to Juror No. 89. She further contends that Juror No. 89 expressed visible

       bias at trial and, because he was chosen as the foreperson, his bias likely resulted in

       the adverse verdict against her. Finally, Tourangeau argues on appeal that Nappi

       engaged in “gender-based discrimination in the use of its preemptory and for cause

       challenges,” which resulted in a jury that was neither impartial nor appropriately

       inclusive of women. Blue Br. at 43. Tourangeau’s contentions are without merit.

              This Court has held that “a trial court enjoys wide discretion in ruling on

       challenges for cause.” Kotler v. Am. Tobacco Co., 926 F.2d 1217, 1228 (1st Cir.

       1990) (citing Dennis v. United States, 339 U.S. 162, 168 (1950)). Therefore, absent

       manifest juror prejudice, this Court will not set aside a judge’s actions in

       empaneling a jury which the judge reasonably considers to be suitable and


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       impartial. Id. (citing McNeill, 728 F.2d at 9). This Court has emphasized that

       “there must be strong evidence that the judge was hoodwinked or his judgment

       grossly in error before an appellate court will interfere.” Id. (citation omitted). For

       the reasons discussed below, there is no evidence – and certainly no strong

       evidence – that the District Court’s judgment was in error in evaluating whether

       the jurors at issue would be suitable and impartial.

          A. The District Court properly excused Juror No. 14 for cause and
             Tourangeau has waived any Batson-style argument.

             The District Court did not abuse its discretion in striking Juror No. 14 for

       cause. Despite Tourangeau’s rationalizations to the contrary, Juror No. 14 admitted

       that she would be “more likely to lean towards someone who is being

       undercompensated, and given the political climate, given my own experiences, I –

       I would be more likely to lean that way.” App. at JA117. The Magistrate Judge

       was able to observe the juror when she spoke those words and her hesitancy in

       responding to questions about whether she could be fair and impartial. App. at

       JA120-21. He justifiably understood her comment about leaning in favor of

       someone who is being undercompensated to refer to a predisposition, and not an

       indication as to how she would rule based solely on the evidence. Id. The

       Magistrate Judge noted Juror No. 14’s prior personal experience with an unequal

       pay issue was a close parallel to the allegations in this case. Id. Given those

       observations, the District Court correctly excused her from the jury. See United
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       States v. Encarnacion, 26 F.4th 490, 502 (1st Cir. 2022) (holding that the district

       court’s decision to strike a juror who expressed doubt about her ability to be fair

       fell “comfortably within the encincture of the district court's discretion”) (citations

       omitted).

             In any event, the exclusion of Juror No. 14 from the jury would not justify a

       new trial. Tourangeau appears to suggest that her removal from the jury pool

       would justify a new trial because she wanted more women on the jury, going as far

       as to assert that Nappi engaged in unconstitutional “gender-based discrimination”

       in the use of its challenges. Blue Br. at 43. As an initial matter, Tourangeau’s

       speculation as to what motivated Nappi to exercise its peremptory challenges is

       both erroneous and entirely baseless. In any event, Tourangeau is foreclosed from

       relying on a Batson-type argument because she did not raise it when Nappi

       exercised its challenges. To the contrary, Tourangeau confirmed on three separate

       occasions after the parties exercised their respective peremptory challenges that

       she was satisfied with the jury and had no further issues to raise. App. JA133, 134,

       & 137. Therefore, Tourangeau’s Batson-style argument has been waived. See

       Sanchez v. Roden, 753 F.3d 279, 295 n.10 (1st Cir. 2014) (holding that a party had

       waived Batson objection to particular jurors by failing to object to the peremptory

       challenges at the time they were exercised). For all these reasons, the District Court




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       was justified in striking Juror No. 14 for cause, and this Court should affirm that

       ruling.

          B.     The District Court properly declined to excuse Juror No. 89 for cause
                 and Tourangeau waived her juror bias argument.

               The District Court also did not abuse its discretion in refusing to strike Juror

       No. 89 for cause. Contrary to Tourangeau’s suggestion on appeal, Juror No. 89 did

       not “hedge” on his ability to be fair and impartial based on his prior litigation

       experience. In fact, the Magistrate Judge made a point of confirming that Juror No.

       89’s use of the term “not necessarily” in response to queries should not be

       interpreted as doubt about his impartiality:

               THE COURT: Do you think that would in any way affect your ability
               to evaluate the evidence, and if the plaintiff was able to prove her
               case, based on the law and the facts that you found, would you have
               any difficulty ruling in favor of the plaintiff?

               JUROR 89: Not necessarily, I don’t think I would, no.

               THE COURT: Okay. The only thing that gives me hesitancy is when
               you say not necessarily. Is there something that caused you to have
               some hesitancy or that -- that maybe there is something lingering there
               that could -- could affect that assessment?

               JUROR 89: No, sir, no.

               THE COURT: Okay.

               JUROR 89: I think that’s just a figure of speech.

               THE COURT: Figure of speech.

               JUROR 89: Right.
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              THE COURT: Okay. So you’re confident -- again, not putting words
              in your mouth, I’ll ask it more in a direct way. Are you confident that
              if you were seated as a juror that both sides would have the
              opportunity -- a fair opportunity before you, that is you would
              evaluate the evidence and decide the case on the merits?

              JUROR 89: Yes, I do.

       App. at JA102-03.

              In rejecting Tourangeau’s request to strike Juror No. 89 due to his prior

       litigation experience,5 the Magistrate Judge noted his own observations about Juror

       No. 89’s responses and his demeanor. App. at JA105-06. He indicated that the

       juror had satisfied him that the juror’s experience as a defendant in a medical

       malpractice case twenty-two years prior would not affect his ability to be fair and

       impartial in this case. Id. In particular, the Magistrate Judge noted:

              And I, too, was struck by his last response when [Tourangeau’s
              counsel] asked him directly about the – whether this caused him to
              kind of view the civil justice system in a negative way or in a negative
              light and that too many lawsuits are filed, and despite the fact that he
              felt he had done his job and he understood why the lawsuit was
              brought. I don’t think he harbors any bitterness towards – he didn't

       5
         Although Tourangeau alludes to Juror No. 89’s affiliation with Northern Lights in the
       Statement of Case section of her brief, she does not argue that Juror No. 89 should have been
       excluded for cause for that reason. Therefore, she has waived the issue on appeal. United States
       v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (citations omitted) (applying the “settled appellate rule
       that issues adverted to in a perfunctory manner, unaccompanied by some effort at developed
       argumentation, are deemed waived”). In any event, as the record reflects, while Tourangeau
       questioned Juror No. 89 about his knowledge – or lack thereof – with regard to claims against his
       employer, Northern Lights, she never moved to strike him for cause based on that issue. J.S. at
       65/3 to 66/22. Therefore, she has waived that issue as a ground for dismissal for cause. See
       United States v. McNeill, 728 F.2d 5, 10 (1st Cir. 1984) (holding that a party who fails
       to challenge a juror during voir dire waives that challenge, absent clear injustice).

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             express any bitterness toward the – the plaintiff or the system. He – in
             response to my questions about being fair to both parties, I mean I
             thought he answered that directly and appropriately if he is going to
             remain. So I understand the concerns, and I'm going to overrule the
             objection, and Juror 89 will remain in the pool and he can return to his
             seat.

       Id.

             The Magistrate Judge rejected Tourangeau’s attempt to equate the

       experiences and presentation of Juror Nos. 14 and 89. In doing so, he made it clear

       that both the jurors’ answers and his observations of their demeanor were

       important distinguishing factors:

             THE COURT: I’m not going to compare one juror to the next. The
             juror that was sued that's seated has nothing to do with employment,
             nothing to do with disparate pay allegation, nothing to do with what is
             perceived to be unequal. So the fact that there is a lawsuit filed against
             somebody is a separate issue from whether there are experiences
             similar to the plaintiff in this case or a party in this case, that's really
             the distinction.

             I cut you off, so I’m sorry, so make sure – make sure you get on the
             record, Ms. Quinlan, everything you want to say. I – I get it, so feel
             free to share the –

             MS. QUINLAN: No, no worries, that's okay. That's all right.

             THE COURT: No, I – I do understand, and, believe me, as I weigh
             these rulings I am aware of how one ruling may affect another ruling,
             or be perceived, and I think it’s understandable that you point out the
             distinction that you point out. I just see this as too close to the
             plaintiff's actual claim, the substance of pay and differential disparate
             pay based on gender which unfortunately it sounds like the juror was
             – the juror experienced herself, and for that very direct similar
             experience to what the plaintiff is claiming I would be surprised if it
             didn't impact how she saw the evidence, frankly. I think it would be
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              understandable; I think her hesitation reflects that. But I certainly
              acknowledge why you are pointing to the physician juror having been
              a party to a lawsuit yet staying in the pool. I understand, but I just see
              a distinction in terms of the substantive claim –

              MS. QUINLAN: Sure.

       App. at JA121-22.

              In any event, the inclusion of Juror No. 89 in the jury6 would not justify a

       new trial. To the extent Tourangeau’s argument is based on a concern that his

       conduct during trial indicated bias, she has waived her objection. Tourangeau

       suggests that Juror No. 89 was “visibly angry” during witness examinations and

       “looked incensed” during her closing argument. One can only assume – in part

       because Tourangeau has presented no evidence to suggest otherwise – that

       Tourangeau was aware of these alleged actions during trial. By waiting until her

       Amended Motion for New Trial to raise these allegations, Tourangeau waived

       them as a basis to prove juror bias. See United States v. Desir, 273 F.3d 39, 43 (1st

       Cir. 2001) (holding that a party “who has knowledge of juror misconduct or bias at

       the time of trial waives such a claim by failing to raise it until after trial”) (citing

       United States v. Costa, 890 F.2d 480, 482 (1st Cir. 1989)). This waiver rule has


       6
         Of course, Tourangeau could have prevented Juror No. 89 from sitting on the jury by exercising
       one of her peremptory challenges to remove him. She has not suggested she had a concern that
       the jurors she did remove from the jury pool with her peremptory challenges were biased or
       unable to be fair and impartial. If she really believed Juror No. 89 presented such a risk, then the
       natural course would have been to remove him. Having decided not to do so, she can hardly
       complain about his service on the jury.

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       been adopted by this Court because “any other rule would allow [a party] to

       sandbag the court by remaining silent and gambling on a favorable verdict,

       knowing that if the verdict went against them, they could always obtain a new trial

       by later raising the issue of juror misconduct.” United States v. Costa, 890 F.2d

       480, 482 (1st Cir. 1989). And even assuming – as we must, since there is no

       competent admissible evidence to support it – that Juror No. 89’s expressions

       could be interpreted as suggesting anger, Tourangeau has nothing but speculation

       to support her argument of bias, since there is no evidence as to why Juror No. 89

       might have been upset. See United States v. Gibson, 353 F.3d 21, 26 (D.C. Cir.

       2003) (holding that defense counsel's “unsubstantiated suspicion” of juror bias

       based on the juror’s facial expressions does not, on its own, require the

       district court to conduct jury questioning) (citing United States v. Thornton, 746

       F.2d 39, 50 (D.C. Cir. 1984)). For all of these reasons, Tourangeau has failed to

       establish that the District Court’s decisions during jury selection were erroneous,

       and this Court should affirm those decisions.

       IV.   THE DISTRICT COURT CORRECTLY RULED THAT
             TOURANGEAU PRESENTED NO EVIDENCE OF JUROR BIAS OR
             MISCONDUCT.

             Tourangeau argues on appeal that a new trial is warranted because a juror

       both failed to respond accurately to voir dire questions and displayed such visible

       bias and hostility against her that his presence tainted the entire jury pool.


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       Applying Supreme Court precedent, this Court has held that “[t]o secure a new

       trial based on a juror’s inaccurate answers during voir dire, ‘a party must first

       demonstrate that a juror failed to answer honestly a material question on voir dire,

       and then further show that a correct response would have provided a valid basis for

       cause.’” Crowley, 303 F.3d at 407 (quoting McDonough Power Equip., 464 U.S. at

       556). A party seeking a new trial on that basis “must do more than raise a

       speculative allegation that the juror’s possible bias may have influenced the

       outcome of the trial.” Dall, 970 F.2d at 969. The complaining party must

       “demonstrate actual prejudice or bias,” United States v. Aponte-Suarez, 905 F.2d

       483, 492 (1st Cir. 1990), which “must be sustained not as a matter of speculation,

       but as a demonstrable reality,” United States v. Uribe, 890 F.2d 554, 562 (1st Cir.

       1989). This Court has emphasized that “hints of bias [are] not sufficient,” and that

       “only ‘[d]emonstrated bias in the responses to questions on voir dire may result in

       a juror’s being excused for cause.’” Sampson v. United States, 724 F.3d 150, 165

       (1st Cir. 2013) (alterations in original) (quoting McDonough, 464 U.S. at 554).

       Tourangeau has presented no competent evidence of either dishonesty or a basis to

       challenge for cause.

             First, there is no evidence that Juror No. 161 failed to answer honestly a

       material question on voir dire. In her motion to disqualify, the only questions

       Tourangeau suggested Juror No. 161 failed to answer honestly are questions seven


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       and eight on the written questionnaire. ECF No. 186, ¶¶ 1-5. As the District Court

       noted during its careful assessment of this issue at trial, there is no competent

       evidence to support that suggestion. App. at JA1239-40. Question seven asked

       whether the jurors had any strong feelings or philosophical beliefs about laws that

       protect against discrimination of individuals with certain medical conditions,

       including pregnancy, that might interfere with their ability to be fair and impartial

       in a case in which the laws might apply. ECF No. 139, at 2. Juror No. 161

       answered “no.” App. at JA053. Tourangeau has presented no evidence of any

       feelings or beliefs held by Juror No. 161 relative to such laws or that he was lying

       about his opinion of his ability to be fair and impartial in a case involving such

       laws. Similarly, question eight asked whether the jurors had any strong personal

       feelings or philosophical beliefs about an individual’s ability to bring a lawsuit to

       recover money damages that might interfere with their ability to be a neutral

       impartial decision-maker in a case in which a person is seeking money damages.

       ECF No. 139, at 2. Again, Juror No. 161 answered “no.” App. at JA053.

       Tourangeau has presented no evidence of any feelings or beliefs held by Juror No.

       161 relative to lawsuits for money damages or that he was lying about his opinion

       of his ability to be fair and impartial in a case involving such claims.7


       7
        In her brief, Tourangeau suggests that questions seven and eight were “designed to ferret out
       bias on the part of potential jurors when it came to women’s rights, pregnancy, sexual
       harassment, and related issues.” Blue Br. at 44-45. However, that suggestion is not entirely
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              In lieu of such evidence, Tourangeau has either intimated or stated that Juror

       No. 161 is a member of, part of, or associated with a group – in her disqualification

       motion she characterized it as a “secret group” – on Facebook called “#FEDUP” or

       “100PercentFEDUP.” ECF No. 186, ¶ 9; ECF No. 219, at 37. This representation,

       whether implicit or explicit, is simply inaccurate. The Facebook page she

       references is not a group; it is a Facebook page dedicated to the website

       100PERCENTFEDUP.com, which was created by two women, Leise Audette and

       Patty McMurray, to express conservative views. ECF No. 187, ¶¶ 4-5. Tourangeau

       can – and does – speculate freely as to what it means for a person to like a

       Facebook page, but, as the District Court noted, there is no evidence to substantiate

       that speculation:

              Well, I mean I hear you, but there is really no evidence of that. I hear
              what you’re telling me, but I don’t – I’m not so sure that there is
              evidence of that.

       App. at JA1232. In addition, there is no evidence as to: one, when Juror No. 161

       “liked” the page; two, what posts to the page, if any, Juror No. 161 actually saw,

       commented on, or liked; or three, whether Juror No. 161 agreed or disagreed – in

       whole or in part – with the material in posts on the page. There is also no evidence

       on Juror No. 161’s personal Facebook page that would suggest he liked or agreed


       accurate. While pregnancy is mentioned in question seven, none of the other topics listed by
       Tourangeau – women’s rights, sexual harassment, and “related issues” – are mentioned in either
       question.

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       with any of the viewpoints expressed on the 100PERCENTFEDUP Facebook

       page. Nor is there anything about the Facebook page or Juror No. 161’s personal

       Facebook page that illuminates Juror No. 161’s feelings or philosophical beliefs8

       about anti-discrimination laws or lawsuits for money damages. Tourangeau has

       presented no evidence that Juror No. 161 saw, shared, commented upon, or liked

       the posts on the Facebook page she has identified – or any particular posts for that

       matter – that would illuminate his feelings or philosophical beliefs or his opinion

       of his ability to be fair and impartial concerning the issues presented in this case. 9

       Tourangeau’s unsupported speculation to the contrary is irrelevant.

              In particular, Tourangeau’s reliance on Juror No. 161’s apparent “liking” of

       the above-referenced Facebook page to suggest that Juror No. 161 lied in his

       responses to questions seven and eight is misplaced. As an initial matter, Nappi

       would note that the assertions Tourangeau has made about Juror No. 161’s conduct

       are not supported by affidavits or authenticated documents or anything else of

       evidentiary quality; therefore, it would appear that the Court would be justified in


       8
         Notably, in distinguishing this case from United States v. French, 904 F.3d 111 (1st Cir. 2018),
       the District Court properly observed that questions seven and eight seek the juror’s own opinion
       on his or her ability to be fair and impartial – not specific factual questions. Based on this, the
       District Court properly concluded that Tourangeau had not produced any evidence that Juror No.
       161 had lied in responding to voir dire.
       9
         Moreover, Tourangeau’s suggestion that someone from Nappi contacted Juror No. 161 to tell
       him to remove this “like” from his Facebook page is based on nothing more than speculation
       entirely devoid of fact. Another explanation for the removal of the “like” is that the Facebook
       Page is no longer active, as is currently the case. In any event, this Court should ignore these
       groundless allegations.

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       rejecting Tourangeau’s argument for lack of competent evidence. See, e.g.,

       Cabrera v. Macomber, No. 1:15-cv-01547-LJO-EPG-HC, 2018 U.S. Dist. LEXIS

       132969, at *51 (E.D. Cal. Aug. 7, 2018) (denying a motion for new trial based on

       juror misconduct on the grounds that the moving party failed to support its request

       with competent evidence) (quoting Anderson v. Calderon, 232 F.3d 1053, 1098

       (9th Cir. 2000)). In any event, as noted above, the fact that Juror No. 161 at some

       time in the undetermined past liked a Facebook page to which persons over time

       have posted a variety of viewpoints does not constitute evidence that he even

       knows about – let alone agrees with – everything that has been posted. Certainly,

       Tourangeau has produced no evidence to the contrary. Finally, there is nothing

       about the Facebook page that would suggest – let alone establish – that Juror No.

       161 lied when he indicated he could be fair and impartial in this case.

             Second, even if Tourangeau could meet her threshold burden of

       demonstrating dishonest responses by Juror No. 161, her assertion of actual

       prejudice or bias is nothing more than speculation. Tourangeau contends that her

       counsel observed Juror No. 161 rolling his eyes, exhibiting “obvious distain,”

       making “biased utterances,” and “scoffing” during her trial testimony. Tourangeau

       further argued that Juror 161 disregarded certain testimony, although how she

       would know that remains a mystery. However, those representations – even if they

       are accurate – are both indefinite and speculative. Standing alone, they do not


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       create a colorable claim of juror misconduct. See Gibson, 353 F.3d at 26 (holding

       that defense counsel’s “unsubstantiated suspicion” of juror bias based on the

       juror’s facial expressions does not, on its own, require the district court to conduct

       jury questioning) (citing Thornton, 746 F.2d at 50). Interestingly, the District Court

       did not draw such conclusions based on his own observations of the juror once the

       issue was raised:

                 As far as watching him, I’ve watched him. I think we can all take
             our own views of how he is responding and body language and things
             of that sort. I haven't heard -- I can’t hear him, so I don’t know that he
             has scoffed as has been represented.

                He occasionally will look up as if he is sort of frustrated, but I
             haven’t noticed that he has been doing that at any particular time. In
             other words, he doesn’t look up more when Mr. Wall is asking
             questions as opposed to the plaintiff asking questions. So I'm not
             convinced, from what I have seen here, that he has exhibited body
             language and an attitude that would render him disqualified.

       App. at JA1242. A similar argument applies to the “biased utterances” and

       “scoffing” that Tourangeau’s counsel claim they heard – these representations are

       so vague and speculative that they cannot generate a colorable claim of juror

       misconduct. See Gibson, 353 F.3d at 26. For all of these reasons, Tourangeau has

       failed to meet the standard for a new trial based on a juror’s alleged failure to

       respond accurately to voir dire questions.




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                                        CONCLUSION

             For the reasons set forth in this Brief, Appellee Nappi Distributors requests

       that the First Circuit deny Tourangeau’s appeal and affirm the judgment of the

       United States District Court for the District of Maine and the jury verdict upon

       which it is based.

             Dated at Portland, Maine this 21st day of February, 2024.

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                                CERTIFICATE OF SERVICE

              I hereby certify that I have today filed the foregoing Brief of Appellee with
       the United States Court of Appeals for the First Circuit via ECF, which will send
       notification of such filing to all parties of record.

             Dated at Portland, Maine this 21st day of February, 2024.

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